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     IRMA ANACANI GONZALEZ
 5
 6
                        IN THE UNITED STATES DISTRICT COURT
 7
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,                             Case No. 2:11-cr-00096-JAM
10
                  Plaintiffs,                        STIPULATION AND ORDER
11                                                   EXONERATING BOND
     vs.
12
13   IRMA ANACANI GONZALEZ, et al,
14                Defendants.
                                                 /
15
16
                  On or about May 2, 2011, defendant Irma Anacani Gonzalez was released
17
     on a $200,000 secured appearance bond. Pursuant to the court's order, the court received
18
     a Deed of Trust for real property owned by Nicolas Moreno and another Deed of Trust
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     for real property owned by Regelio Lopez and Adriana Meza de Lopez, as collateral for
20
     the bond. This was noted in the Court=s Docket as entries 65, 67, 68 and 70.
21
                  On or about March 28, 2016, the government through counsel brought a
22
     motion to dismiss the charges without prejudice as against Ms. Gonzalez. Thereafter, on
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     March 29, 2016, the Court made its Order granting the motion to dismiss. Such actions
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     were noted in the Court=s Docket as entries 355 and 356.
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                  As the criminal matter as against Ms. Gonzalez has concluded with the
26
                                        1
27   ________________________________________________________________________
     STIPULATION AND ORDER EXONERATING BOND
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                      Case 2:11-cr-00096-DC Document 380 Filed 08/28/20 Page 2 of 2




 1   dismissal, the parties stipulate that the appearance bond be exonerated and that the deeds
 2   of trust securing the bond be reconveyed.
 3   Dated: August 26, 2020
 4                                  /s/ Kenny N. Giffard
                                    ____________________________________________
 5                        KENNY N. GIFFARD
                                    Attorney for Defendant
 6                                  IRMA ANACANI GONZALEZ
 7
     Dated: August 26, 2020
 8
                                        /s/ Paul A. Hemesath
 9                                      ____________________________________________
                                        PAUL A. HEMESATH
10                                      Assistant United States Attorney
11
12                                             ORDER
13                 Pursuant to the above stipulation, IT IS ORDERED that Ms. Gonzalez's
14   release bond is exonerated and the Clerk is directed to reconvey the collateral received on
15   her behalf. (Docket entries 68 and 70.)
16
17   Dated: August 27, 2020
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26                                      2
     ________________________________________________________________________
27   STIPULATION AND ORDER EXONERATING BOND
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